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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JANE DOE, et al.,

      Plaintiffs,

v.                                              Case No. 4:23-cv-00114-RH-MAF

JOSEPH A. LAPADO, et al.,

     Defendants.
____________________________/

     NOTICE REGARDING DEPOSITION CROSS DESIGNATIONS

      The Surgeon General, the Board of Medicine, the Board of Osteopathic

Medicine, and State Attorney Gladson (“the State”) provide this Court with cross

designations to Dr. Mortensen’s deposition.

         Plaintiffs’ Designations                The State’s Cross-Designations
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Dated: December 15, 2023               Respectfully submitted by,

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                                       individual Board Members




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                      LOCAL RULES CERTIFICATION

      I certify that this brief complies with this Court’s word count, spacing, and

formatting requirements.

                                             /s/ Mohammad O. Jazil
                                             Mohammad O. Jazil


                           CERTIFICATE OF SERVICE

      I certify that on December 15, 2023, the foregoing was filed using the Court’s

CM/ECF, which will serve a copy to all counsel of record.

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